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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

CLOUD SATCHEL LLC
                         Plaintiff,
                                                       Civil Action No.
               v.
                                                       JURY TRIAL DEMANDED
AMAZON.COM, INC
                         Defendant.



                         COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Cloud Satchel LLC, by way of Complaint against the above-named Defendant,

alleges the following:

                                      NATURE OF THE ACTION

       1.      This is an action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. § 1 et seq.

                                          THE PARTIES

       2.      Plaintiff Cloud Satchel is a limited liability company organized under the laws of

the State of Delaware with its place of business at 1220 North Market Street, Suite 806,

Wilmington, Delaware 19801.

       3.      Defendant Amazon.com, Inc. is a corporation organized under the laws of the

State of Delaware with its principal place of business at 410 Terry Ave, North Seattle, WA,

98109. It may be served process through its Delaware Registered Agent: Corporation Service

Company, 2711 Centerville Rd, Ste. 400, Wilmington, DE 19808.




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                                  JURISDICTION AND VENUE

        4.      This is an action for patent infringement arising under the Patent Laws of the

United States, Title 35 of the United States Code.

        5.      This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338.

        6.      On information and belief, Defendant is subject to the jurisdiction of this Court by

virtue of being incorporated in Delaware. On information and belief, Defendant is also subject to

the jurisdiction of this Court by reason of its acts of patent infringement which have been

committed in this Judicial District, and by virtue of its regularly conducted and systematic

business contacts in this State. As such, Defendant has purposefully availed itself of the privilege

of conducting business within this Judicial District; has established sufficient minimum contacts

with this Judicial District such that it should reasonably and fairly anticipate being haled into

court in this Judicial District; has purposefully directed activities at residents of this State; and at

least a portion of these patent infringement claims arise out of or are related to one or more of the

foregoing activities.

        7.      Venue is proper in this judicial district under 28 U.S.C. §§ 1391(c) and 1400(b).

               COUNT I – INFRINGEMENT OF U.S. PATENT No. 5,862,321

        8.      The allegations set forth in the foregoing paragraphs 1 through 7 are hereby re-

alleged and incorporated herein by reference.

        9.      On January 19, 1999, United States Patent No. 5,862,321, entitled “System and

Method For Accessing And Distributing Electronic Documents,” was duly and legally issued by

the United States Patent and Trademark Office. A true and correct copy of the ’321 Patent is

attached as Exhibit A to this Complaint.



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       10.     Cloud Satchel is the assignee and owner of the entire right, title, and interest in

and to the ’321 Patent, including the right to assert all causes of action arising under said patent

and the right to any remedies for infringement of it.

       11. In violation of 35 U.S.C. § 271(a), Defendant has directly infringed, and continues to

directly infringe, the ’321 Patent both literally and under the doctrine of equivalents. Defendant’s

infringement includes its making, testing, using, importing, selling, and offering to sell certain

portable products that control the transport of electronic documents; its making, testing and using

its web-based storage system (hereinafter “Accused Storage and Delivery System”) which

functions with such portable products to store and deliver electronic documents; and its

performing methods which involve such portable products and Accused Storage and Delivery

System, that practice the subject matter recited in one or more claims of the ’321 Patent,

including but not limited to claims 1, 15, and 19. Defendant’s infringing acts are performed in

the United States, including within this Judicial District, without the authorization of Cloud

Satchel. The accused portable products include Amazon’s Kindle line of eReaders and tablets

(collectively “Kindle”) as they connect and operate with the Amazon web based networked

system, including its cloud storage and the means Amazon employs to store and produce

documents from such cloud storage. The accused Kindles include the Kindle Fire HD, the Kindle

Fire (1st and 2nd Generations), the Kindle Paperwhite, the Kindle Touch, the Kindle Keyboard,

the Kindle DX, and the Kindle (1st and 2nd Generations), plus variations of these models.

Defendant infringes by making, testing, and using its Accused Storage and Delivery System, and

infringes by making, using, testing, importing, providing, selling, and offering to sell its Kindles.

The infringing methods include the method of operating Kindles, including how electronic

document references are received and distributed in response to the functioning of the Kindles

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with respect to the Accused Storage and Delivery System, and how the Kindles achieve buying,

restoring, lending, and borrowing of documents.

          12.   Cloud Satchel provided actual notice to Defendant of both its direct and indirect

infringement of the ’321 Patent in a letter sent by Federal Express on May 10, 2013. In that

letter, Cloud Satchel informed Amazon that it was infringing the ’321 Patent by making, using,

selling, offering to sell, and/or importing the eReader and eReader tablet line of products. Cloud

Satchel’s letter further informed Amazon that the infringing products and services included, but

were not limited to, Amazon’s Kindle E-Ink line of products, and the Kindle Fire line of

products. Cloud Satchel’s letter also informed Amazon that Amazon was inducing infringement

of the ’321 Patent by allowing, encouraging, and training its customers to use the infringing

products and services through its advertising, marketing, provision of instruction manuals and

materials, and through providing services on Amazon.com for use in conjunction with the

infringing products and services, and through otherwise providing special offers, incentives, and

features to use the infringing products and services. Cloud Satchel’s letter also informed Amazon

that it was contributing to infringement of the ’321 Patent by selling and offering for sale the

infringing products and services. With respect to both induced infringement and contributory

infringement, Cloud Satchel’s letter informed Amazon that the direct infringers were Amazon’s

partners and customers.

          13.   Defendant has had actual knowledge of the ’321 Patent and its direct and indirect

infringement of that patent since at least the date that Defendant received the May 10, 2013

letter.

          14.   Upon information and belief, Defendant has induced and continues to induce

others to infringe at least claims 1, 15, and 19 of the ’321 Patent under 35 U.S.C. § 271(b) by,

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among other things and with specific intent or willful blindness, actively aiding and abetting

others to infringe. These acts, include, but are not limited to, inducing Defendant’s Kindle

customers, whose Kindle use constitutes direct infringement of at least those claims of the ’321

Patent. In particular, Defendant’s actions include making, importing, offering to sell, and selling

the accused Kindles to its customers. Furthermore, Defendant’s providing its User’s Guides,

training videos, instructions, and on-going help to its customers on how to use Kindles, and

otherwise inducing its customers via special offerings, incentives, and features, to use their

Kindles to infringe at least claims 1, 15, and 19. On information and belief, Defendant has

engaged in such actions with specific intent to cause infringement or with willful blindness to the

resulting infringement, because Defendant has had actual knowledge of the ’321 Patent and that

its acts were inducing its customers to infringe the ’321 Patent since at least the date it received

the May 10 notice letter.

       15.     Cloud Satchel has been harmed by Defendant’s infringing activities.

       16.     Cloud Satchel notified Defendant of its direct and indirect infringement of the

’321 Patent including an identification of the particular infringing products and features, but

Defendant thereafter continued to infringe the ’321 Patent by continuing the activities described

in Paragraphs 11-14 above. On information and belief, Defendant has not obtained an opinion of

counsel regarding infringement or validity with respect to the claims of ’321 Patent. Defendant’s

continued infringement has therefore been in reckless disregard of Cloud Satchel’s patent rights.

On information and belief, Defendant’s infringement has been and continues to be willful.

              COUNT II – INFRINGEMENT OF U.S. PATENT No. 6,144,997

       17.     The allegations set forth in the foregoing paragraphs 1 through 16 are hereby re-

alleged and incorporated herein by reference.

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       18.     On November 7, 2000, United States Patent No. 6,144,997, entitled “System and

Method For Accessing And Distributing Electronic Documents,” was duly and legally issued by

the United States Patent and Trademark Office. A true and correct copy of the ’997 Patent is

attached as Exhibit B to this Complaint.

       19.     Cloud Satchel is the assignee and owner of the entire right, title, and interest in

and to the ’997 Patent, including the right to assert all causes of action arising under said patent

and the right to any remedies for infringement.

       20.     In violation of 35 U.S.C. § 271(a), Defendant has directly infringed and continues

to directly infringe, both literally and under the doctrine of equivalents, the ’997 Patent by

making and using its Accused Storage and Delivery System. This infringement is facilitated by

Defendant’s making, testing, using, importing, selling, and offering to sell Kindles to its

customers, and by its customers operating such Kindles. The Accused Storage and Delivery

System is constructed in accordance with one or more claims of the ’997 Patent, including but

not limited to claim 1. It is made and used in the United States, including within this Judicial

District, without the authorization of Cloud Satchel.

       21.     Cloud Satchel provided actual notice to Defendant of its infringement of the ’997

Patent in a letter sent by Federal Express on May 10, 2013. In that letter, Cloud Satchel informed

Amazon that it was infringing the ’997 Patent by making and using its Accused Storage and

Delivery System which interfaced with and operated with Kindles. Cloud Satchel also informed

Amazon that the making, using, importing, selling, and offering to sell its Kindles furthered the

infringement by the Accused Storage and Delivery System and increased Plaintiff’s damages.

       22.     Defendant has had actual knowledge of the ’997 Patent and its infringement of

that patent since at least the date that Defendant received the May 10, 2013 letter.

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           23.   Upon information and belief, Defendant has induced and continues to induce

others to infringe at least claim 1 of the ’997 Patent under 35 U.S.C. § 271(b) by, among other

things and with specific intent or willful blindness, actively aiding and abetting others to

infringe. These acts, include, but are not limited to, inducing Defendant’s Kindle customers,

whose Kindle use constitutes direct infringement of at least claim 1of the ’997 Patent. In

particular, Defendant’s actions include making, importing, offering to sell, and selling the

accused Kindles to its customers. Defendant’s actions also include its provision of User’s

Guides, training videos, instructions, and on-going help to its customers on how to use Kindles,

and otherwise inducing its customers via special offerings, incentives, and features, to use their

Kindles to infringe at least claim 1. On information and belief, Defendant has engaged in such

actions with specific intent to cause infringement or with willful blindness to the resulting

infringement, because Defendant has had actual knowledge of the ’997 Patent and that its acts

were inducing its customers to infringe the ’997 Patent since at least the date it received the May

10 notice letter.

           24.   Cloud Satchel has been harmed by Defendant’s infringing activities.

           25.   Cloud Satchel notified Defendant of its infringement of the ’997 Patent including

an identification of the particular infringing system and the facilitating products and features, but

Defendant thereafter continued to infringe the ’997 Patent by continuing the activities described

in Paragraph 20 above. On information and belief, Defendant has not obtained an opinion of

counsel regarding infringement or validity with respect to the claims of the ’997 Patent.

Defendant’s continued infringement has therefore been in reckless disregard of Cloud Satchel’s

patent rights. On information and belief, Defendant’s infringement has been and continues to be

willful.

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                                         JURY DEMAND

        Cloud Satchel demands a trial by jury on all issues triable as such.


                                     PRAYER FOR RELIEF

        WHEREFORE, Cloud Satchel respectfully requests that this Court enter judgment for

Cloud Satchel and against Defendant as follows:

        a.      an adjudication that Defendant has infringed one or more claims of the ’321 and

                ’997 patents;

        b.      an award of damages to be paid by Defendant adequate to compensate Cloud

Satchel for Defendant’s past infringement of any of the ’321 and ’997 patent claims, and any

continuing or future infringement through the date such judgment is entered, including interest,

costs, expenses, and an accounting of all infringing acts including, but not limited to, those acts

not presented at trial;

        c.      an injunction ordering Defendant to pay an ongoing royalty in an amount to be

determined for any continued infringement after the date judgment is entered;

        d.      an award of treble damages under 35 U.S.C. § 284;

        e.      a declaration finding this to be an exceptional case, and awarding Cloud Satchel

attorney fees under 35 U.S.C. §285; and,

        f.      for such further relief at law and in equity as the Court deems just and proper.




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Dated: May 24, 2013                 STAMOULIS & WEINBLATT LLC

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